Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 1 of 32 Page ID #:368



1    Douglas A. Axel (SBN 173814)
     daxel@sidley.com
2    Sean A. Commons (SBN 217603)
     scommons@sidley.com
3    James M. Perez (SBN 249842)
     james.perez@sidley.com
4    Alexandria Daugherty (SBN 307684)
     adaugherty@sidley.com
5    Alexandria Ruiz (SBN 313286)
     aruiz@sidley.com
6    Waqas Akmal (SBN 316601)
     wakmal@sidley.com
7    SIDLEY AUSTIN LLP
     555 West Fifth Street
8    Los Angeles, CA 90013
     Telephone: (213) 896-6178
9    Facsimile: (213) 896-6600
10   Jennifer Pasquarella (SBN 263241)
     jpasquarella@aclusocal.org
11   Adrienna Wong (SBN 282026)
     awong@aclusocal.org
12   Eva L. Bitran (SBN 302081)
     ebitran@aclusocal.org
13   ACLU FOUNDATION of
     SOUTHERN CALIFORNIA
14   225 W. Hospitality Ln., Ste. 302
     San Bernardino, CA 92408
15   Telephone: (909) 380-7505
     Facsimile: (213) 977-5299
16
     Attorneys for Plaintiff
17   Guadalupe Robles Plascencia
18                            UNITED STATES DISTRICT COURT
19                           CENTRAL DISTRICT OF CALIFORNIA
20   GUADALUPE ROBLES                        Case No. 5:17-cv-02515 (JGB) SP
     PLASCENCIA,
21                                           FIRST AMENDED COMPLAINT
                Plaintiff,
22                                           JURY TRIAL REQUESTED
          v.
23
     UNITED STATES OF AMERICA;
24   PHILLIP ASHLEY; DARRICK
     GATLING; AARON MARTINEZ;
25   AARON RAYNOR; TAMIRRA
     ROBINSON; ALBERTO ROMERO;
26   ABEL URIBE; WILLIAM
     WHEELER; SAN BERNARDINO
27
28


                                   FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 2 of 32 Page ID #:369



 1   COUNTY; SAN BERNARDINO
     COUNTY SHERIFF’S
 2   DEPARTMENT; MARCELYN
     BROOKS; and MARLENE
 3   ESCOBAR,
 4                Defendants.
 5
 6               Plaintiff Guadalupe Robles Plascencia (“Ms. Plascencia”) is a U.S.
 7   citizen of Mexican origin who naturalized over two decades ago. She has been a
 8   resident of San Bernardino, California for approximately 38 years, where she raised
 9   two daughters and three sons and works as a hairstylist. She is 60 years old.
10               On March 29, 2017, Ms. Plascencia accompanied her daughter to the
11   Ontario Police Department to collect property of theirs recovered from the scene of
12   a car accident. Instead of walking out with her things, however, Ms. Plascencia
13   found herself under arrest. To her shock and dismay, the San Bernardino County
14   Sheriff’s Department took her into custody and handed her over to Immigration and
15   Customs Enforcement (“ICE”) officers that arrested, handcuffed, and detained
16   her—even though Ms. Plascencia repeatedly told both county and federal officers
17   that she is an American citizen and offered to provide documents showing this to be
18   true.
19               Ms. Plascencia is far from the only U.S. citizen that ICE has wrongfully
20   arrested and detained. The key electronic databases that ICE agents and officers use
21   to identify enforcement targets and discern citizenship and immigration status
22   contain no electronicized records of naturalization from before 1994, and only
23   spotty information from before 2008. Nevertheless, ICE agents and officers rely on
24   these databases, which they know to be incomplete and full of errors, to target
25   people for arrest and detention.
26               Although information about ICE’s patterns and practices of wrongful
27   arrests is published and well known, the San Bernardino County Sheriff’s
28   Department continues to provide ICE agents and officers with information about

                                               1
                                   FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 3 of 32 Page ID #:370



 1   individuals in the Sheriff’s custody and to notify ICE when an individual the agency
 2   is interested in is ready to be released from County jail. The Sheriff’s Department
 3   then provides ICE agents and officers access to its facilities, including the jail
 4   building and the secure parking lot—and, on information and belief, even delays the
 5   process of releasing people in its custody—to assist ICE in carrying out immigration
 6   arrests.
 7               Ms. Plascencia’s unlawful arrest and detention were the result of this
 8   flawed immigration enforcement collaboration between the San Bernardino County
 9   Sheriff’s Department and ICE. State and federal officials violated Ms. Plascencia’s
10   rights under the U.S. Constitution and state law by detaining her without probable
11   cause to believe she was a noncitizen subject to removal from this country. To
12   remedy her past injuries, Ms. Plascencia brings this action for damages under the
13   Fourth and Fourteenth Amendments to the U.S. Constitution; 42 U.S.C. § 1983; the
14   authority of Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics,
15   403 U.S. 388 (1971); the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346(b);
16   and California state law.
17                                      THE PARTIES
18                                        Plaintiff
19               Ms. Plascencia is a resident of San Bernardino, California. A mother of
20   five and grandmother of 16, Ms. Plascencia works to support her family. In 2013,
21   she and her daughter opened a beauty salon near downtown San Bernardino.
22               Although Ms. Plascencia speaks both English and Spanish, she is more
23   comfortable speaking Spanish, which is her first language. She speaks English with
24   an accent and does not read English well. She is Hispanic.
25               Ms. Plascencia became a citizen of the United States on May 28, 1998,
26   and was a lawful permanent resident before that. For almost 40 years, she has
27   called California home.
28

                                                 2
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 4 of 32 Page ID #:371



 1                                        Defendants
 2               Defendant United States is a proper defendant in this action as to
 3   Ms. Plascencia’s claims made pursuant to the FTCA. Immigration and Customs
 4   Enforcement (“ICE”), a division of the Department of Homeland Security, was at all
 5   relevant times a federal agency, organized and existing under the laws of the United
 6   States. On information and belief, the United States, through ICE, was at all
 7   relevant times the employer of the individual ICE officers, formerly ICE Does 1-8
 8   and hereinafter “ICE officers,” that unlawfully arrested, detained, and violated the
 9   rights of Ms. Plascencia.
10               On information and belief, the ICE officers are individuals who by their
11   actions caused, prolonged, or exacerbated Ms. Plascencia’s unlawful arrest and
12   detention and violations of her rights. On information and belief, they are and were
13   at all relevant times agents, employees, officers or otherwise representatives of ICE.
14   At all times relevant to this Complaint, the ICE officers were acting within the
15   scope and course of their employment with ICE, an executive agency of the United
16   States. Ms. Plascencia sues the ICE officers in their individual capacities.
17               On information and belief, and based on meet and confers with counsel
18   for the United States and discovery disclosures by the United States, individual
19   Defendants Phillip Ashley, Darrick Gatling, Aaron Martinez, Aaron Raynor,
20   Tamirra Robinson, Alberto Romero, Abel Uribe, and William Wheeler are the ICE
21   officers, formerly ICE Does 1-8, that unlawfully arrested, detained, or otherwise
22   violated the rights of Ms. Plascencia.
23               On information and belief, and based on meet and confers with counsel
24   for the United States and discovery disclosures by the United States, Defendant
25   Phillip Ashley is ICE Doe 1, who is and was at all relevant times, an employee of
26   ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well as
27   the violations of her rights.
28

                                                3
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 5 of 32 Page ID #:372



 1               On information and belief, and based on meet and confers with counsel
 2   for the United States and discovery disclosures by the United States, Defendant
 3   Aaron Martinez is ICE Doe 2, who is and was at all relevant times, an employee of
 4   ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well as
 5   the violations of her rights.
 6               On information and belief, and based on meet and confers with counsel
 7   for the United States and discovery disclosures by the United States, Defendant
 8   Darrick Gatling is ICE Doe 3, who is and was at all relevant times, an employee of
 9   ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well as
10   the violations of her rights.
11               On information and belief, and based on meet and confers with counsel
12   for the United States and discovery disclosures by the United States, Defendant
13   Aaron Raynor is ICE Doe 4, who is and was at all relevant times, an employee of
14   ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well as
15   the violations of her rights.
16               On information and belief, and based on meet and confers with counsel
17   for the United States and discovery disclosures by the United States, Defendant
18   Tamirra Robinson is ICE Doe 5, who is and was at all relevant times, an employee
19   of ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well
20   as the violations of her rights.
21               On information and belief, and based on meet and confers with counsel
22   for the United States and discovery disclosures by the United States, Defendant
23   Alberto Romero is ICE Doe 6, who is and was at all relevant times, an employee of
24   ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well as
25   the violations of her rights.
26               On information and belief, and based on meet and confers with counsel
27   for the United States and discovery disclosures by the United States, Defendant
28   Abel Uribe is ICE Doe 7, who is and was at all relevant times, an employee of ICE

                                                   4
                                        FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 6 of 32 Page ID #:373



 1   and involved in the unlawful arrest and detention of Ms. Plascencia, as well as the
 2   violations of her rights.
 3               On information and belief, and based on meet and confers with counsel
 4   for the United States and discovery disclosures by the United States, Defendant
 5   William Wheeler is ICE Doe 8, who is and was at all relevant times, an employee of
 6   ICE and involved in the unlawful arrest and detention of Ms. Plascencia, as well as
 7   the violations of her rights.
 8               Defendant County of San Bernardino (“San Bernardino County”;
 9   “County”) is a proper defendant in this action as to Ms. Plascencia’s claims made
10   pursuant to the California Tort Claims Act, Cal Gov’t Code §§ 810-996 (CTCA).
11   San Bernardino County is a political subdivision, organized under the laws of the
12   State of California. The San Bernardino County Sheriff’s Department is a
13   department of San Bernardino County. The County is vicariously liable for the
14   tortious acts of its employees. San Bernardino County, through its Sheriff’s
15   Department, was at all relevant times the employer of the individual Sheriff’s
16   Department officers, formerly California Does 1-10 and hereinafter “Sheriff’s
17   Department officers,” that unlawfully detained and violated the rights of
18   Ms. Plascencia.
19               The Sheriff’s Department was at all relevant times responsible for
20   ensuring that its officers act in accordance with the U.S. Constitution, the California
21   Constitution, and federal and state law. Specifically, the Sheriff’s Department was
22   at all relevant times responsible for formulating, implementing, changing,
23   approving, and/or allowing policies, customs, or practices applicable to its officers’
24   conduct with respect to the detention and release of individuals, and their dealings
25   and communications with immigration officials. On information and belief, the
26   Sheriff’s Department maintains a policy, custom, or practice of communicating
27   information about individuals in its custody to ICE, notifying ICE when identified
28   individuals are being released, and granting ICE access to its secure facilities to

                                                5
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 7 of 32 Page ID #:374



 1   enable ICE agents and officers to conduct arrests on the premises in order to transfer
 2   targeted individuals to federal immigration detention.
 3               On information and belief, and based on discovery disclosures by the
 4   County and Sheriff’s Department, the Sheriff’s Department officers are individuals
 5   who by their actions caused, prolonged, or exacerbated Ms. Plascencia’s unlawful
 6   detention and violations of her rights. They are and were at all relevant times,
 7   agents, employees, officers or otherwise representatives of San Bernardino County
 8   and its Sheriff’s Department, in whose custody Ms. Plascencia was detained.
 9               On information and belief, and based on discovery disclosures by the
10   County and Sheriff’s Department, individual Defendants Marcelyn Brooks and
11   Marlene Escobar are the Sheriff’s Department officers that unlawfully detained, and
12   violated the rights of Ms. Plascencia.
13               On information and belief, and based on discovery disclosures by the
14   County and Sheriff’s Department, Defendant Marcelyn Brooks is California Doe 1,
15   who is and was at all relevant times, an officer employed by the Sheriff’s
16   Department and involved in the unlawful detention of Ms. Plascencia, as well as the
17   violations of her rights.
18               On information and belief, and based on discovery disclosures by the
19   County and Sheriff’s Department, Defendant Marlene Escobar is California Doe 2,
20   who is and was at all relevant times, an officer employed by the Sheriff’s
21   Department and involved in the unlawful detention of Ms. Plascencia, as well as the
22   violations of her rights.
23                               JURISDICTION AND VENUE
24               The Court has subject matter jurisdiction over Ms. Plascencia’s claims
25   under the U.S. Constitution, 42 U.S.C. § 1983, 28 U.S.C. § 1331 (federal question),
26   and 28 U.S.C. § 1343 (civil rights). The Court has supplemental jurisdiction over
27   Plaintiff’s state law claims under 28 U.S.C. § 1367.
28

                                               6
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 8 of 32 Page ID #:375



 1               On May 24, 2017, Ms. Plascencia timely filed an administrative
 2   complaint with the federal government. Ms. Plascencia is authorized to file her
 3   FTCA claims in this District Court because her administrative tort claim has not
 4   been resolved six months following filing. Accordingly, Ms. Plascencia’s claims
 5   are deemed denied, and she has exhausted all available administrative remedies.
 6   See 28 U.S.C. §§ 2675, 1346.
 7               On May 24, 2017, Ms. Plascencia timely filed an administrative tort
 8   claim with San Bernardino County. The County issued a notice rejecting her claims
 9   on June 27, 2017. She has exhausted all available administrative remedies. See Cal.
10   Gov’t. Code §§ 913, 945.6(a)(1).
11               Venue is proper in this District under 28 U.S.C. § 1402(b) because the
12   acts at issue in this lawsuit occurred within the District.
13                                STATEMENT OF FACTS
14                                  Ms. Plascencia’s Arrest
15               On or about March 29, 2017, at approximately 4:00 p.m.,
16   Ms. Plascencia walked into the Ontario Police Department to collect her legally
17   obtained firearm that had been recovered from her vehicle following a motor vehicle
18   accident.
19               Upon her arrival, Ms. Plascencia produced her lawfully issued and valid
20   California driver’s license and gun registration to police officers to reclaim the
21   firearm. The officers asked Ms. Plascencia to wait in a small room, ostensibly for
22   the purpose of locating and returning her property.
23               Instead of returning with her property, however, two police officers
24   arrived and informed Ms. Plascencia that she was being arrested based on a
25   10-year-old warrant.
26               The officers could not explain to Ms. Plascencia the legal basis for
27   issuance of the warrant, other than by describing the warrant as related to
28

                                                 7
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 9 of 32 Page ID #:376



 1   “disobeying a court order.” They never gave a clear answer to Ms. Plascencia’s
 2   repeated questions as to the basis of the warrant.
 3                Ms. Plascencia was never read her Miranda rights or provided with a
 4   writing summarizing her Miranda rights.
 5                The officers placed Ms. Plascencia in a cell. After approximately seven
 6   hours, they took her fingerprints, then placed her back in the cell.
 7             Ms. Plascencia’s Transfer to the West Valley Detention Center
 8                After an indeterminate amount of time, officers handcuffed
 9   Ms. Plascencia, chained her around the waist, and placed her in a transport truck.
10   Officers drove her to the West Valley Detention Center, a San Bernardino County
11   jail located at 9500 Etiwanda Ave., Rancho Cucamonga, California 91739.
12                On information and belief, and based on discovery disclosures by the
13   County and Sheriff’s Department, after holding Ms. Plascencia in a cell for
14   approximately three hours, Ms. Plascencia was directed to sign a document
15   informing the Mexican consulate of her arrest. Even though she should not have
16   had to do so because the Sheriff’s Department already had her driver’s license, gun
17   registration, and other paperwork, Ms. Plascencia explained and insisted that she
18   was a U.S. citizen and could prove it if given the opportunity to produce her
19   passport. Ms. Plascencia was told the form would help her get an attorney, so she
20   signed the consular notification.
21                Ms. Plascencia spent the night in a cell in the West Valley Detention
22   Center.
23             Ms. Plascencia’s Detention Was Extended Without Explanation
24                Early the following afternoon, before 2:00 p.m., Ms. Plascencia was
25   escorted to a small desk where she was asked to sign a document notifying ICE that
26   she was being released. The document was entirely in English. Ms. Plascencia
27   asked why ICE was being notified of her release since she was a U.S. citizen.
28   Ms. Plascencia was told that she would not be released unless she signed the ICE

                                                8
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 10 of 32 Page ID #:377



 1   notification form. As a result, Ms. Plascencia signed the notification form. Her
 2   driver’s license, gun registration, and other paperwork related to her arrest were then
 3   returned to her.
 4               Although Ms. Plascencia was told that she would be released upon
 5   signing the ICE notification form, she was not actually permitted to leave the West
 6   Valley Detention Center. Instead, Ms. Plascencia was told to go into a small cell
 7   across from the desk where she had received her paperwork and instructed to wait
 8   there for further instruction. Though the cell door remained open, it was clear to
 9   Ms. Plascencia that she was not permitted to walk out of the room. She was
10   directed to wait in the cell as a ruse to delay her departure from the West Valley
11   Detention Center until ICE arrived. This conduct was willful and intentional, made
12   knowing there was no legal basis to do so.
13               After being detained for an additional 10 to 15 minutes in the small cell,
14   Ms. Plascencia was told she was free to leave the building. It was not explained to
15   her why she had been detained in this manner.
16               On information and belief, the Sheriff’s Department officers prolonged
17   Ms. Plascencia’s detention because ICE officers communicated an intention to take
18   Ms. Plascencia into custody. The Sheriff’s Department officers stalled
19   Ms. Plascencia’s release in order to afford ICE officers additional time to arrive at
20   the West Valley Detention Center and effect Ms. Plascencia’s arrest. The San
21   Bernardino County Sheriff’s Department maintains an unlawful policy, custom, or
22   practice of delaying the release of people in their custody whom they no longer have
23   a legal basis to detain, including by unreasonably extending the administrative
24   processes associated with their release from County custody, in order to aid and abet
25   ICE arrests. The Sheriff’s Department officers who prolonged Ms. Plascencia’s
26   detention acted in accordance with this policy, custom, or practice.
27
28

                                                9
                                   FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 11 of 32 Page ID #:378



 1                 ICE Arrested Ms. Plascencia Without Probable Cause
 2               As Ms. Plascencia walked towards the exit of West Valley Detention
 3   Center, two men approached her near the entrance and stopped her. They identified
 4   themselves to Ms. Plascencia as ICE officers and immediately arrested her.
 5               Ms. Plascencia explained to the ICE officers that she was a U.S. citizen.
 6   Despite the fact that she had a validly issued California driver’s license and gun
 7   registration, the officers laughed at her and said that, if she were a U.S. citizen, she
 8   would have paperwork on her person to prove it.
 9               Ms. Plascencia, however, confirmed that she could provide additional
10   paperwork to prove her U.S. citizenship—namely her passport—if given the chance.
11   The ICE officers disregarded Ms. Plascencia’s pleas for an opportunity to establish
12   her U.S. citizenship. Instead, they took her to an unmarked vehicle in the jail’s
13   secure parking lot. Two additional ICE agents were waiting for Ms. Plascencia
14   inside the vehicle.
15               On information and belief, the San Bernardino County Sheriff’s
16   Department had permitted the ICE officers to park their vehicle in the secure
17   parking lot of the West Valley Detention Center for the purpose of facilitating
18   Ms. Plascencia’s unlawful arrest.
19               Ms. Plascencia was handcuffed before being placed in the back of the
20   unmarked vehicle. Without any explanation whatsoever, the ICE officers held
21   Ms. Plascencia in the vehicle—still in the secure parking lot of the West Valley
22   Detention Center—for approximately 30 minutes before they informed her that they
23   were taking her to ICE’s San Bernardino Field Station.
24               The ICE officers transported Ms. Plascencia from the West Valley
25   Detention Center to the ICE Field Station. Still handcuffed, the ICE officers
26   escorted Ms. Plascencia inside the field station and instructed her to wait. The ICE
27   officers never removed Ms. Plascencia’s handcuffs during this time. The arresting
28   ICE officers then left the facility.

                                                10
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 12 of 32 Page ID #:379



 1               Another ICE officer approached Ms. Plascencia and told her to identify
 2   herself. Ms. Plascencia gave her name. The officer laughed and said, “Here, you
 3   are nobody, you’re nothing.” Ms. Plascencia asked the officer why they were
 4   arresting and detaining her, but the ICE officer refused to provide an explanation.
 5               After some time, an officer removed Ms. Plascencia’s handcuffs. A
 6   second ICE officer asked Ms. Plascencia for her lawfully issued California driver’s
 7   license, which she provided. She again told the officer that she was a U.S. citizen
 8   and that her daughter had her passport. The requesting officer said that he could
 9   review data accessible through a computer and determine her citizenship status, but
10   he mockingly stated that he knew the system would prove that Ms. Plascencia was
11   lying. During this time, in callous disregard of Ms. Plascencia and her rights, the
12   ICE officers repeatedly accused Ms. Plascencia of identity theft, saying that she was
13   using a false name and documentation, and threatened her with deportation.
14               Ms. Plascencia made several requests to make a call, which were
15   denied. A short time later, an ICE officer called Ms. Plascencia’s daughter to
16   inform her that she was being detained at the ICE San Bernardino field station.
17   Ms. Plascencia was permitted to speak with her daughter, and she asked her
18   daughter to bring her passport to the station as soon as possible.
19               When Ms. Plascencia’s daughter arrived at the field station, the ICE
20   officer who had been speaking with Ms. Plascencia collected the passport and
21   appeared to review it. He input information into a computer. Another ICE officer
22   also collected the gun registration that Ms. Plascencia had with her at the time of her
23   arrest and detention and showed it to the first officer, who was sitting at the
24   computer. Upon reviewing the gun registration, the second officer said aloud to the
25   first officer that Ms. Plascencia needed to be released because she was a U.S.
26   citizen. In callous disregard for Ms. Plascencia and her rights, and using expletives,
27   the officer sitting at the computer said, “No,” and that she had to wait.
28

                                                11
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 13 of 32 Page ID #:380



 1               The ICE officer sitting at the computer then asked Ms. Plascencia a
 2   series of questions about her family and her travels in the recent months. After
 3   Ms. Plascencia answered those questions, the ICE officer finally said that because
 4   she answered almost everything correctly, he could release her from custody. He
 5   removed the handcuffs and escorted her to the back door of the facility. He did not
 6   apologize for her prolonged detention.
 7                         ICE’s Reliance on Electronic Databases
 8               On information and belief, ICE conducted database searches for
 9   information about Ms. Plascencia, including but not limited to the Central Index
10   System (CIS) of U.S. Citizenship and Immigration Services (USCIS). On
11   information and belief, the results of these database searches produced no
12   information about Ms. Plascencia’s citizenship and status.
13                CIS is a database maintained by USCIS, the agency responsible for
14   processing petitions, applications, and other requests for immigration benefits.
15   According to DHS, “CIS serves as a DHS-wide index used to track the location of
16   case files, to include Alien Files (A-File) nationally and to maintain alien status and
17   repository information. CIS contains information on the status of individuals,
18   including lawful permanent residents, naturalized citizens, U.S. border crossers,
19   apprehended aliens, legalized aliens, aliens who have been issued employment
20   authorizations, and other individuals of interest to DHS. CIS provides information
21   used for granting or denying benefits and capturing subsequent status changes;
22   documenting chain of custody for enforcement; keeping track of immigrant
23   statistics; and control and account of record keeping services in accordance with the
24   Code of Federal Regulations (CFR) to certify the existence or non-existence of
25   records.”
26               CIS is not a complete repository of information about all citizens and
27   noncitizens in the United States, nor does it provide a complete account of whether
28   individuals are subject to removal.

                                               12
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 14 of 32 Page ID #:381



 1                Even concerning information that it purports to maintain, the CIS
 2   database is incomplete. On information and belief, DHS only began to digitize
 3   applicants’ fingerprints (and to input the associated records electronically) in 1994.
 4   USCIS only began to consistently digitize the fingerprints of those who apply for
 5   immigration benefits in 2008. Therefore, naturalization and citizenship applications
 6   created prior to 2008 are not consistently available in the CIS database; those
 7   created prior to 1994 are not available at all.
 8                On information and belief, the CIS database is replete with errors: these
 9   include outdated information, misspelling of names, and erroneous immigration
10   status information, among other problems. The DHS Office of the Inspector
11   General and the Government Accountability Office have reported on these errors,
12   and they are well known throughout DHS. These errors in these databases have
13   given rise to litigation. See, e.g., Gonzalez v. ICE, No. 2:13-cv-04416 (C.D. Cal.).
14                ICE has acknowledged in the context of immigration detainers that it
15   does not have probable cause when it initiates arrests based on evidence of foreign
16   birth and no match in these databases.
17                On information and belief, ICE and its agents and officers are aware of
18   the incomplete and inaccurate nature of these databases, but nonetheless relies on
19   them for arrest determinations.
20                On information and belief, the San Bernardino County Sheriff’s
21   Department and its officers are aware of the incomplete and inaccurate nature of
22   these databases.
23                On information and belief, this practice contributes to ICE unlawfully
24   arresting U.S. citizens without authority and without probable cause.1
25
26
27   1
       See Joel Rubin and Paige St. John, “How a U.S. citizen was mistakenly targeted for deportation.
     He’s not alone,” L.A. Times (Nov. 29, 2017), http://www.latimes.com/local/lanow/la-me-ice-
28   citizen-arrest-20171129-story.html.

                                                    13
                                       FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 15 of 32 Page ID #:382



 1               On information and belief, the ICE officers arrested Ms. Plascencia on
 2   the basis of evidence of her birth in Mexico and the absence of any information in
 3   the CIS database or any other immigration database.
 4               On information and belief, without any probable cause to believe she
 5   was a noncitizen subject to removal, the ICE officers arrested Ms. Plascencia solely
 6   on the basis of her national origin, place of birth, race, ethnicity, or language ability.
 7     The San Bernardino County Sheriff’s Department’s Collaboration with ICE
 8               The San Bernardino County Sheriff’s Department has a long-standing
 9   collaborative relationship with ICE.
10               The San Bernardino County Sheriff’s Department receives immigration
11   detainers from ICE. An immigration detainer is a fill-in-the-blank form completed
12   by an ICE officer that requests a law enforcement agency to maintain custody of an
13   individual for up to 48 hours beyond the time the individual becomes due for release
14   from custody so that ICE may take custody of the person for purposes of civil
15   immigration enforcement. In the civil immigration context, ICE does not obtain a
16   warrant signed by a judge when it issues detainers or anytime thereafter, nor does it
17   provide a judicial warrant to the receiving law enforcement agency. In addition,
18   ICE does not make an individualized determination of probable cause prior to
19   issuing a detainer.
20               The San Bernardino County Sheriff’s Department’s policy is not to hold
21   inmates for up to 48 hours beyond the time they are eligible for release on an
22   immigration detainer. Instead, on information and belief, the Department’s policy is
23   to treat a detainer as a request for notification of a person’s release date. To that
24   end, the Department’s policy is to notify ICE of the release dates of every person in
25   its custody who receives a detainer.
26               On information and belief, the San Bernardino County Sheriff’s
27   Department maintains a policy, custom, or practice of notifying ICE of an
28

                                                 14
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 16 of 32 Page ID #:383



 1   individual’s release and detaining those individuals beyond the time they would
 2   otherwise be released to facilitate ICE’s arrival to the jail and arrest.
 3                  On information and belief, based on discovery disclosures by the United
 4   States, the San Bernardino County Sheriff’s Department commonly permits ICE
 5   access to its facilities, including the secure parking lot, to effectuate the arrests of
 6   individuals.
 7                  On information and belief, these policies, customs, or practices have led
 8   the San Bernardino County Sheriff’s Department to unlawfully extend the detention
 9   of several individuals in addition to Ms. Plascencia, in order for ICE to effectuate
10   their arrests.
11                  On information and belief, these policies, customs, or practices
12   foreseeably do and in Ms. Plascencia’s case did result in the Sheriff’s Department
13   detaining individuals beyond the time they would otherwise be released from
14   custody and without probable cause for a new arrest.
15                     Ms. Plascencia Suffered Financially and Continues
16              to Suffer from Mental and Emotional Pain as a Result of her
17                        Unlawful and Arbitrary Arrest and Detention
18                  As a direct result of the events that form the basis of this lawsuit,
19   Ms. Plascencia’s demeanor has changed: she is fearful, and every time she sees a
20   police officer drive by she feels profound anxiety and physical unease. This
21   anxiety, and its attendant physical symptoms, have on several occasions prevented
22   Ms. Plascencia from opening her shop for the day. Ms. Plascencia is afraid to travel
23   to Mexico, and indeed she has not left the country since her arrest, because she
24   worries that immigration authorities will not let her back in.
25                  Ms. Plascencia has suffered and continues to suffer from serious
26   emotional distress, pain, suffering, trauma, worry, anxiety, humiliation, and
27   embarrassment, as well as physical symptoms, such as headaches, nausea, loss of
28

                                                   15
                                       FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 17 of 32 Page ID #:384



 1   sleep, fatigue, and anxiety attacks. Ms. Plascencia has sought treatment from
 2   professional therapists.
 3                Ms. Plascencia also experienced loss of income due to loss of
 4   employment during her detention and subsequent period of recovery from this
 5   traumatic experience.
 6                                   PRAYER FOR RELIEF
 7                                            COUNT I
 8                                   Federal Tort Claims Act
 9                              False Arrest/False Imprisonment
10                              (Against Defendant United States)
11                The foregoing allegations are realleged and incorporated herein.
12                Defendant United States, through the ICE officers, inflicted personal
13   injury on Ms. Plascencia by subjecting her to false arrest and imprisonment.
14                There was no lawful justification for Ms. Plascencia’s arrest. The ICE
15   officers did not have probable cause to believe she was a noncitizen subject to
16   removal from the United States. Upon information and belief, Ms. Plascencia was
17   arrested on the impermissible basis of race, ethnicity, language ability, and/or
18   national origin.
19                Further, on information and belief, the ICE officers intentionally caused
20   Ms. Plascencia’s detention by the San Bernardino County Sheriff’s Department to
21   be prolonged, without probable cause to believe she was removable, in the face of
22   substantial evidence that Ms. Plascencia is a U.S. citizen, in reliance on faulty
23   databases; purportedly based on an unsigned detainer in someone else’s name;
24   and/or due to failure to access readily available information.2 This detention was
25   without legal justification or probable cause.
26   2
      ICE’s own internal policies regarding the investigation of potential U.S. Citizenship requires
     agents to check “all available DHS data systems and any other reasonable means available to the
27   officer.” Memorandum on Investigating the Potential U.S. Citizenship of Individuals Encountered
     by ICE, No. 16001.2, § 5.1(1) (Nov. 10, 2015), available at:
28   https://www.ice.gov/sites/default/files/documents/Document/2017/16001.2.pdf (emphasis added).

                                                   16
                                      FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 18 of 32 Page ID #:385



 1               Ms. Plascencia did not freely and voluntarily consent to her
 2   imprisonment.
 3               The ICE officers’ conduct proximately caused Ms. Plascencia actual
 4   harm: this unlawful arrest resulted in Ms. Plascencia’s loss of liberty, lost wages,
 5   and other personal injuries as set forth above.
 6               The ICE officers were, at all times relevant, officers and/or employees
 7   of ICE and, as such, acting as employees of Defendant United States.
 8                                        COUNT II
 9                                  Federal Tort Claims Act
10                                         Negligence
11                            (Against Defendant United States)
12               The foregoing allegations are realleged and incorporated herein.
13               ICE officials have a duty to act with reasonable care and to not subject
14   individuals to personal injury during the course of their duties.
15               ICE officials have a duty to not subject individuals to discriminatory
16   treatment on the basis of actual or perceived race, ethnicity, and/or national origin.
17               ICE officials have a duty to not subject individuals to unreasonable
18   searches or seizures.
19               Defendant United States, through ICE, and the ICE officers breached
20   one or more of these duties.
21               As set forth above, ICE officials routinely rely on databases that they
22   know and admit to be incomplete to authorize and justify the issuance of detainers
23   and arrests. This causes harm to individuals like Ms. Plascencia (including other
24   naturalized citizens) by depriving them of their liberty without probable cause to
25   believe they are removable. On information and belief, the ICE officers’ negligent
26   reliance solely on databases known to be flawed and Ms. Plascencia’s actual or
27   perceived race, ethnicity, or national origin caused Ms. Plascencia’s unlawful
28   detention and resulting injuries.

                                                17
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 19 of 32 Page ID #:386



 1               As set forth above, the ICE officers who caused Ms. Plascencia’s
 2   detention by San Bernardino County Sheriff’s Department officers to be prolonged,
 3   and who arrested her at the West Valley Detention Center, did so in reliance on
 4   ICE’s faulty databases, in spite of her assertion of U.S. citizenship and abundant
 5   legitimate countervailing evidence of U.S. citizenship that Ms. Plascencia offered
 6   the officers, which could have been verified through readily available information.
 7   On information and belief, the ICE officers’ lack of probable cause or reasonable
 8   care caused Ms. Plascencia’s unlawful detention and resulting injuries.
 9               The ICE officers were, at all times relevant, officers and/or employees
10   of ICE and, as such, acting as employees of Defendant United States.
11                                       COUNT III
12                                  Federal Tort Claims Act
13           Intentional Infliction of Emotional Distress or in the Alternative
14                       Negligent Infliction of Emotional Distress
15                           (Against Defendant United States)
16               The foregoing allegations are realleged and incorporated herein.
17               Despite Ms. Plascencia’s constant assertions and offers of proof that she
18   is a U.S. citizen, Defendant United States, through the ICE officers, intentionally
19   took her into federal custody without probable cause. They also unnecessarily
20   delayed the processing of her information and release. ICE officers denigrated,
21   threatened, and insulted Ms. Plascencia as she objected to her treatment, denying
22   her humanity by saying she was “nothing” and “nobody” and threatening to deport
23   her to Mexico without cause.
24               These actions, carried out by agents in a relation or position of power
25   with respect to Ms. Plascencia, were outrageous.
26               Defendant United States, through the ICE officers, intended to cause or
27   negligently caused Ms. Plascencia emotional distress. Defendant’s conduct was
28   designed to cause and naturally caused severe emotional distress, including pain,

                                               18
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 20 of 32 Page ID #:387



 1   suffering, trauma, worry, anxiety, humiliation, and embarrassment. Ms. Plascencia
 2   has had and continues to have physical and emotional symptoms such as headaches,
 3   nausea, loss of sleep, fatigue, and anxiety attacks for more than 10 months.
 4               The ICE officers were, at all times relevant, officers and/or employees
 5   of ICE and, as such, acting as employees of Defendant United States.
 6                                        COUNT IV
 7                                Federal Tort Claims Act
 8                        The Bane Act (Cal. Civ. Code § 52.1(a))
 9                           (Against Defendant United States)
10               The foregoing allegations are realleged and incorporated herein.
11               Defendant United States, through the ICE officers, intentionally caused
12   Ms. Plascencia to be detained and detained her without probable cause to believe
13   she was removable, solely on the basis of her race, ethnicity, and/or national origin,
14   and despite her consistent assertions that she is a U.S. citizen. This unlawful
15   detention was accomplished through coercion, i.e., through Ms. Plascencia’s forced
16   continuing incarceration. Therefore, Defendant United States, through the ICE
17   officers, violated Ms. Plascencia’s rights under California Civil Code § 52.1 and the
18   following clearly established rights under law, including but not limited to:
19               a.    The right to be secure from unreasonable searches and seizures,
20                     as secured by the California Constitution, Article 1, Section 13;
21                     and
22               b.    The right to equal protection under law, regardless of perceived or
23                     actual race, ethnicity, or country of origin, as secured by the
24                     California Constitution, Article 1, Section 7.
25               As a direct and proximate result of Defendants’ acts as set forth above,
26   Ms. Plascencia sustained injuries and damages.
27               The ICE officers were, at all times relevant, officers and/or employees
28   of ICE and, as such, acting as employees of Defendant United States.

                                               19
                                   FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 21 of 32 Page ID #:388



 1                                          COUNT V
 2                                Fourth Amendment (Bivens)
 3                                    Unreasonable Seizure
 4                     (Against Individual Defendants the ICE officers)
 5                 The foregoing allegations are realleged and incorporated herein.
 6                 The Fourth Amendment to the U.S. Constitution prohibits
 7   “unreasonable searches and seizures.”
 8                 As set forth above, the ICE officers seized and detained Ms. Plascencia
 9   without probable cause to believe Ms. Plascencia was a noncitizen subject to
10   removal and detention.
11                 The detention constituted an unreasonable seizure in violation of
12   Ms. Plascencia’s Fourth Amendment rights.
13                 As of March 30, 2017, it was clearly established that an ICE officer
14   must have probable cause to arrest an individual suspected of being a removable
15   noncitizen. It was also clearly established that ICE does not have probable cause to
16   arrest and detain a U.S. citizen or to make an arrest based on foreign place of birth
17   and the absence of records in databases, which it knows to be incorrect and
18   incomplete.
19                 Even if the ICE officers had probable cause for the arrest, which they
20   did not, probable cause ceased to exist the moment Ms. Plascencia informed the ICE
21   officers that she is a U.S. citizen—a fact she asserted upon arrest.
22                 The ICE officers’ conduct proximately caused Ms. Plascencia harm,
23   including loss of liberty, lost wages, and other personal injuries as set forth above.
24                 In performing the acts alleged herein, the ICE officers acted
25   maliciously, intentionally, recklessly, and/or with callous indifference to
26   Ms. Plascencia’s constitutional rights, such that an award of punitive damages is
27   appropriate.
28

                                                20
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 22 of 32 Page ID #:389



 1                                        COUNT VI
 2              California Tort Claims Act (Cal. Gov’t Code §§ 815.2, 820)
 3                            False Arrest/False Imprisonment
 4   (Against Defendants San Bernardino County, San Bernardino County Sheriff’s
 5           Department, and the Individual Sheriff’s Department Officers)
 6               The foregoing allegations are realleged and incorporated herein.
 7               The Sheriff’s Department officers intentionally caused Ms. Plascencia to
 8   be imprisoned without probable cause, all in the face of substantial credible
 9   evidence that Ms. Plascencia is a U.S. citizen. There was no lawful justification for
10   Ms. Plascencia’s detention after County agents at the West Valley Detention Center
11   purportedly released her. Nevertheless, as set forth above, the Sheriff’s Department
12   officers failed to promptly release Ms. Plascencia, instead asking her to wait in the
13   Detention Center.
14               On information and belief, the Sheriff’s Department officers
15   intentionally caused Ms. Plascencia to be imprisoned because they knowingly gave
16   ICE false and/or materially incomplete information regarding Ms. Plascencia’s
17   citizenship status. Such information could be expected to stimulate an arrest.
18               On information and belief, the Sheriff’s Department officers
19   intentionally caused Ms. Plascencia to be imprisoned because they authorized,
20   encouraged, directed, or assisted ICE officers by allowing ICE officers to use the
21   West Valley facility secure parking lot to unlawfully detain Ms. Plascencia.
22               On information and belief, Defendants County, Sheriff’s Department
23   and the Sheriff’s Department officers also intentionally caused Ms. Plascencia to be
24   imprisoned because they intentionally, recklessly, and/or negligently established
25   and/or enforced policies and practices that caused Ms. Plascencia to be unlawfully
26   and tortiously detained. Specifically, as set forth above, these Defendants adopted a
27   policy of notifying ICE agents and officers when individuals with immigration
28   detainers are in County custody, detaining such individuals pending ICE’s arrival,

                                               21
                                   FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 23 of 32 Page ID #:390



 1   and allowing ICE access to its facilities (including the secure parking lot) to effect
 2   their arrest, despite knowing that ICE detainers are often unsupported by probable
 3   cause, an action which would and did foreseeably result in the prolonged unlawful,
 4   nonconsensual detention of Ms. Plascencia and others like her. They also failed to
 5   establish and/or enforce policies and practices that would have prevented
 6   Ms. Plascencia’s unlawful and tortious detention.
 7               At all times, Ms. Plascencia was aware of her confinement and did not
 8   consent to it.
 9               Ms. Plascencia was actually harmed: this unlawful arrest resulted in
10   Ms. Plascencia’s loss of liberty, lost wages, and other personal injuries as set forth
11   above.
12               The Sheriff’s Department officers were, at all times relevant, officers
13   and/or employees of San Bernardino County and its Sheriff’s Department and, as
14   such, acting within the scope of their employment. Under the CTCA, Defendants
15   County, Sheriff’s Department, and the Sheriff’s Department officers are liable for
16   these actions.
17                                        COUNT VII
18              California Tort Claims Act (Cal Gov’t Code §§ 815.2, 820)
19                                         Negligence
20   (Against Defendants San Bernardino County, San Bernardino County Sheriff’s
21            Department, and the Individual Sheriff’s Department Officers)
22               The foregoing allegations are realleged and incorporated herein.
23               Defendants County, Sheriff’s Department, and the Sheriff’s Department
24   officers have a duty to act with reasonable care and not subject individuals to
25   personal injury during the course of their duties.
26               Defendants have a duty not to subject individuals to discriminatory
27   treatment on the basis of race, ethnicity, and/or national origin, or to unreasonable
28   searches and seizures.

                                                22
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 24 of 32 Page ID #:391



 1               Defendants have a mandatory duty under law to release an individual if
 2   there is no probable cause to detain her, including if any action or warrant against
 3   her has been dismissed.
 4               Defendants have a duty not to maintain policies, customs, or practices
 5   whose natural and foreseeable consequence is a violation of individuals’ rights and
 6   liberties secured by the U.S. Constitution.
 7               As set forth above, Defendant the Sheriff’s Department officers
 8   breached these duties by unlawfully extending Ms. Plascencia’s detention for the
 9   purpose of allowing ICE an opportunity to unlawfully arrest her. The breach was a
10   proximate cause of Ms. Plascencia’s unlawful detention and resulting injuries.
11               As set forth above, on information and belief, Defendants County,
12   Sheriff’s Department, and the Sheriff’s Department officers breached these duties
13   by negligently adopting and implementing a policy of notifying ICE agents and
14   officers when individuals with immigration detainers are in County custody,
15   delaying the process of release for such individuals pending ICE’s arrival, and
16   allowing ICE access to its facilities (including the secure parking lot) to effect their
17   arrest, despite knowing that ICE detainers are often unsupported by probable cause,
18   an action which would and did foreseeably result in the prolonged unlawful
19   detention of Ms. Plascencia and others like her.
20               The Sheriff’s Department Officers were, at all times relevant, officers
21   and/or employees of San Bernardino County and its Sheriff’s Department and, as
22   such, acting within the scope of their employment. Under the CTCA, Defendants
23   County, Sheriff’s Department, and California Does 1-10 are liable for these actions.
24   ///
25   ///
26   ///
27
28

                                                23
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 25 of 32 Page ID #:392



 1                                        COUNT VIII
 2                California Tort Claims Act (Cal. Gov’t Code §§ 815.2, 820)
 3              Intentional Infliction of Emotional Distress or in the Alternative
 4                         Negligent Infliction of Emotional Distress
 5   (Against Defendants San Bernardino County, San Bernardino County Sheriff’s
 6              Department and the Individual Sheriff’s Department Officers)
 7                 The foregoing allegations are realleged and incorporated herein.
 8                 On information and belief, the Sheriff’s Department officers
 9   intentionally or negligently inflicted Ms. Plascencia with emotional distress by
10   unnecessarily delaying the processing of her information and release from West
11   Valley Detention Center, which allowed ICE to unlawfully detain her—despite the
12   fact that there was no reason to believe that Ms. Plascencia could have been the
13   lawful subject of an ICE detainer, and the Sheriff’s Department officers knew or
14   should have known that on March 30, 2017. These Defendants also forced
15   Ms. Plascencia to sign a notification to ICE, threatening her with prolonged
16   detention if she declined, even though she consistently asserted that she is a U.S.
17   citizen.
18                 These actions, carried out by agents in a relation or position of power
19   with respect to Ms. Plascencia, were outrageous.
20                 As a result of this conduct, Ms. Plascencia has suffered severe emotional
21   distress over a prolonged period of time, including fright, grief, pain, suffering,
22   trauma, worry, anxiety, humiliation, and embarrassment. Ms. Plascencia also has
23   physical symptoms such as headaches, nausea, loss of sleep, fatigue, and anxiety
24   attacks.
25                 Ms. Plascencia’s emotional distress was the natural consequence of the
26   actions of the Sheriff’s Department officers.
27                 The Sheriff’s Department officers were, at all times relevant, officers
28   and/or employees of San Bernardino County and its Sheriff’s Department and, as

                                                 24
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 26 of 32 Page ID #:393



 1   such, acting within the scope of their employment. Under the CTCA, Defendants
 2   County, Sheriff’s Department, and the Sheriff’s Department officers are liable for
 3   these actions.
 4                                         COUNT IX
 5                           The Bane Act (Cal. Civ. Code § 52.1)
 6   (Against Defendants San Bernardino County, San Bernardino County Sheriff’s
 7            Department and the Individual Sheriff’s Department Officers)
 8               The foregoing allegations are realleged and incorporated herein.
 9               The Sheriff’s Department officers unlawfully extended Ms. Plascencia’s
10   detention until the arrival of ICE officers, solely on the basis of her race, ethnicity,
11   and/or national origin and despite her consistent assertions that she is a U.S. citizen.
12   This unlawful detention was accomplished through coercion, i.e., through
13   Ms. Plascencia’s forced continuing incarceration. Therefore, Defendants California
14   Does 1-10 violated Ms. Plascencia’s rights under California Civil Code § 52.1 and
15   the following clearly established rights under law, including but not limited to:
16               a.     The right to be secure from unreasonable searches and seizures,
17                      as secured by the Fourth Amendment to the U.S. Constitution and
18                      the California Constitution, Article 1, Section 13; and
19               b.     The right to equal protection under law, regardless of perceived or
20                      actual race, ethnicity, or country of origin, as secured by the
21                      Fourteenth Amendment to the U.S. Constitution and the
22                      California Constitution, Article 1, Section 7.
23               As a direct and proximate result of Defendants’ acts and/or omissions as
24   set for above, Ms. Plascencia sustained injuries and damages.
25               In performing the acts alleged herein, the Sheriff’s Department officers
26   acted maliciously, intentionally, recklessly, and/or with callous indifference to
27   Ms. Plascencia’s constitutional rights, such that an award of punitive damages is
28   appropriate.

                                                 25
                                    FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 27 of 32 Page ID #:394



 1               The Sheriff’s Department officers were, at all times relevant, officers
 2   and/or employees of San Bernardino County and its Sheriff’s Department and, as
 3   such, acting within the scope of their employment. Under the CTCA, Defendants
 4   County, Sheriff’s Department, and the Sheriff’s Department officers are liable for
 5   these actions.
 6                                         COUNT X
 7                Fourth and Fourteenth Amendment (42 U.S.C. § 1983)
 8                                   Unreasonable Seizure
 9          (Against Defendants the Individual Sheriff’s Department Officers)
10               The foregoing allegations are realleged and incorporated herein.
11               The Fourth Amendment to the U.S. Constitution prohibits
12   “unreasonable searches and seizures.” The Fourth Amendment’s guarantees are
13   applied to the States through the Fourteenth Amendment.
14               The Sheriff’s Department officers caused Ms. Plascencia to be detained
15   at West Valley Detention Center after she was entitled to release and after their
16   authority to detain her had ceased.
17               The Sheriff’s Department officers did not have probable cause to
18   believe that Ms. Plascencia was a noncitizen subject to removal and detention.
19               Despite Ms. Plascencia’s repeated claims that she was a U.S. citizen and
20   her willingness to demonstrate evidence of her citizenship, Defendant the Sheriff’s
21   Department officers refused to investigate her claims; instead, they forced
22   Ms. Plascencia to sign an ICE notification form under threat that she would not be
23   released until she signed.
24               With knowledge that detaining Ms. Plascencia without probable cause
25   was a Fourth Amendment violation, the Sheriff’s Department officers nonetheless
26   continued to detain Ms. Plascencia, including placing her in a cell after telling her
27   she was ready to be released.
28

                                               26
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 28 of 32 Page ID #:395



 1                 As of March 30, 2017, it was clearly established that a police officer
 2   must have probable cause to arrest an individual suspected of being a removable
 3   noncitizen. It was also clearly established that ICE does not have probable cause to
 4   arrest and detain a U.S. citizen. It was also clearly established that neither ICE nor a
 5   police officer has probable cause to make an arrest based on foreign place of birth
 6   and the absence of records in its databases, which it knows to be incorrect and
 7   incomplete.
 8                 The Sheriff’s Department officers effected an unreasonable seizure and
 9   deprivation of liberty in violation of Ms. Plascencia’s Fourth and Fourteenth
10   Amendment rights.
11                 In performing the acts alleged herein, the Sheriff’s Department officers
12   acted maliciously, intentionally, recklessly, and/or with callous indifference to
13   Ms. Plascencia’s constitutional rights, such that an award of punitive damages is
14   appropriate.
15                                         COUNT XI
16                        Fourteenth Amendment (42 U.S.C. § 1983)
17                                      Equal Protection
18            (Against Defendants the Individual Sheriff’s Department Officers)
19                 The foregoing allegations are realleged and incorporated herein.
20                 The Fourteenth Amendment to the U.S. Constitution provides that “[n]o
21   State shall . . . deny to any person within its jurisdiction the equal protection of the
22   laws.”
23                 On information and belief, by causing Ms. Plascencia’s information to
24   be reported to ICE solely on the basis of her place of birth, Hispanic name, Hispanic
25   appearance, and/or English-language ability, the Sheriff’s Department officers
26   subjected Ms. Plascencia to adverse treatment (namely, reporting to ICE and
27   consequent detention) based on her race, ethnicity, and/or national origin, in
28   violation of her right to equal protection under the Fourteenth Amendment.

                                                 27
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 29 of 32 Page ID #:396



 1               The Sheriff’s Department officers disregarded Ms. Plascencia’s
 2   statements that she was a U.S. citizen, and refused to consider her proof of her
 3   citizenship, on the basis of her race, ethnicity, and/or national origin. They treated
 4   Ms. Plascencia as presumptively subject to detention and removal as an allegedly
 5   deportable noncitizen on the basis of her Hispanic identity.
 6               On March 30, 2017, it was clearly established that it is unconstitutional
 7   to detain an individual on the basis of her race, ethnicity, and/or national origin.
 8               In performing the acts alleged herein, the Sheriff’s Department officers
 9   acted maliciously, intentionally, recklessly, and/or with callous indifference to
10   Ms. Plascencia’s constitutional rights, such that an award of punitive damages is
11   appropriate.
12                                 PRAYER FOR RELIEF
13     Wherefore, Plaintiff requests that this Court:
14         a.    Award compensatory and punitive damages against all individual
15               Defendants in their individual capacities for the above violations of
16               federal and state law;
17         b.    Award compensatory damages against the United States under the
18               FTCA;
19         c.    Award prejudgment interest on any award of damages to the extent
20               permitted by law;
21   ///
22   ///
23   ///
24
25
26
27
28

                                                28
                                     FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 30 of 32 Page ID #:397



 1        d.    Award reasonable attorneys’ fees and costs, pursuant to 42 U.S.C.
 2              § 1988 and any other applicable law; and
 3        e.    Grant such other relief as the Court may deem appropriate.
 4                            JURY TRIAL REQUESTED
 5
 6   Date: August 16, 2018                        SIDLEY AUSTIN LLP
 7
                                                  By: /s/ Waqas Akmal
 8                                                    Waqas Akmal
                                                      SIDLEY AUSTIN LLP
 9
10                                                ACLU FOUNDATION of
                                                  SOUTHERN CALIFORNIA
11
12                                                By: /s/ Eva L. Bitran
                                                      Eva L. Bitran
13
14                                                     Attorneys for Plaintiff
                                                       Guadalupe Robles Plascencia
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             29
                                 FIRST AMENDED COMPLAINT
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 31 of 32 Page ID #:398



                                          PROOF OF SERVICE
1
2

3
     STATE OF CALIFORNIA
     COUNTY OF LOS ANGELES
                                              l ss
4           I am employed in the County of Los Angeles, State of California. I am over the
     age of 18 years and not a party to the within action. My business address is 555 West
 5
     Fifth Street, Suite 4000, Los Angeles, CA 90013.
 6
            On August 16, 2018, I served the foregoing document(s) described as FIRST
 7
     AMENDED COMPLAINT on all interested parties in this action as follows (or as on
 8   the attached service list):
 9                                 SEE ATTACHED SERVICE LIST
10

11    ~           (VIA U.S. MAIL) I served the foregoing document(s) bY. U.S. Mail, as
                  follows: I placed true copies of the document(s) in a sealed envelope
12                addressed to each interested party as shown above. I placed each such
                  envelope with postage thereon fully prepaid, for collection and mailing at
13                Sidley Austin LLPl Los Angeles, California. I am readily familiar with
                  Sidley Austin LLP s practice for collection and processing of
14                correspondence for mailing with the United States Postal Service. Under
                  that practice, the correspondence would be deposited in the United States
15                Postal Service on that same day in the ordinary course of business.

16         I declare under penalty of perjury under the laws of the United States that the
17
     foregoing is true and correct.

18                Executed on August 16, 2018, at Los Angeles, California.
19

20
21

22

23

24

25

26
27

28
                                              PROOF OF SERVICE
      235015560
Case 5:17-cv-02515-JGB-SP Document 54 Filed 08/16/18 Page 32 of 32 Page ID #:399




                                      SERVICE LIST
 I
 2   Michelle D. Blakemore                       Counsel for Defendants
     James H. Thebeau                            San Bernardino County and San
 3
     Blakney A. Boggs                            Bernardino County Sheriffs
 4   3 85 N. Arrowhead Ave., 4th Floor           Department
 5   San Bernardino, CA 92415
     jthebeau@cc.sbcounty.gov
 6   blakney.boggs@cc.sbcounty.gov
 7
     Nicola T. Hanna                              Counsel for Defendant
 8   David M. Harris                              United States of America
 9   Joanne Osinoff
     Grace Y. Park
10   Federal Building, Suite 7516
11   3 00 N. Los Angeles Street
     Los Angeles, CA 90012
12   grace.park@usdoj .gov
13

14

15

16

17
18

19

20
21
22

23

24
25

26
27
28

                                    PROOF OF SERVICE 235015560
